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January 16, 2020
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VIA ECF

Honorable Vernon S. Broderick
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:    United States v. Christopher Collins, et al., No. 18-cr-567 (VSB)

Dear Judge Broderick:

       We are counsel to defendant Christopher Collins (“Mr. Collins”) in this matter. Please
find enclosed two additional letters written in support of Mr. Collins provided to defense counsel
on January 15, 2020.

Sincerely,

s/Jonathan B. New


Jonathan B. New

cc:    All Counsel of Record
